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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

YIFAN SHEN, et al.,
      Plaintiﬀs,
v.                                            Case No. 4:23-cv-208-AW-MAF
WILTON SIMPSON, etc., et al.,
      Defendants.


           PLAINTIFFS’ UNOPPOSED MOTION FOR LEAVE
       TO FILE A MEMORANDUM THAT EXCEEDS WORD LIMIT

      Plaintiﬀs move for leave to ﬁle a memorandum of no more than 10,500 words

supporting their anticipated motion for a preliminary injunction (“Plaintiﬀs’

Motion”). All Defendants are unopposed to Plaintiﬀs’ request. As grounds in support,

Plaintiﬀs state:

      1.     Local Rule 7.1(F) limits a memorandum supporting a motion to 8,000

words, and also permits that “[i]n extraordinary circumstances, the Court may grant

leave to ﬁle a longer memorandum.”

      2.     Plaintiﬀs respectfully request leave to ﬁle a memorandum in support of

Plaintiﬀs’ Motion that will exceed 8,000 words but be no longer than 10,500 words.

      3.     An additional 2,500 words are warranted for Plaintiﬀs to adequately

brief the multiple legal issues pertaining to Plaintiﬀs’ Motion. Plaintiﬀs seek to

preliminary enjoin SB 264, a newly-passed Florida law that imposes discriminatory

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prohibitions on the ownership and purchase of real property based on race, ethnicity,

alienage, and national origin—and imposes especially draconian restrictions on

people from China. de law is scheduled to go into eﬀect on July 1, 2023. As

Plaintiﬀs allege in their Complaint ﬁled on May 22, 2023 (and in their forthcoming

First Amended Complaint), SB 264 violates the U.S. Constitution’s Equal Protection

Clause, Due Process Clause, and Supremacy Clause. It also violates the Fair Housing

Act. Adequately explaining why Plaintiﬀs are substantially likely to succeed on the

merits of multiple claims will require more than 8,000 words.

      4.     In addition to addressing these complex legal issues, the memorandum

will need to extensively discuss the legislative history of the Florida law to show the

intent and eﬀects of the law.

      5.     Finally, the memorandum will need to explain to the Court why

Plaintiﬀs would suﬀer irreparable harm without a preliminary injunction, which will

be based on detailed factual discussions relating to several individual Plaintiﬀs and

one corporate Plaintiﬀ.

      6.     Plaintiﬀs have consulted with Defendants, who do not oppose the relief

requested by this motion. de parties have agreed that if the Court grants this motion,

Plaintiﬀs will consent to the same request for a word-limit expansion should

Defendants need one for their opposing memorandum.

      WHEREFORE, Plaintiﬀs respectfully request that this Court grant Plaintiﬀs’

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motion for leave to ﬁle a memorandum with a limit of no more than 10,500 words.

            LOCAL RULE 7.1(C) CERTIFICATE OF CONFERRAL

        Counsel for Plaintiﬀs conferred with counsel for Defendants, who do not

oppose the relief requested by this motion.


        Respectfully submitted this 5th day of June, 2023,

    /s/ Nicholas L.V. Warren

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                  ** Motion for leave to appear pro hac vice pending
              †
                  Motion for leave to appear pro hac vice forthcoming




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